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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

    UNITED STATES OF AMERICA                         §
                                                     §
    v.                                               §    CRIMINAL NO. 4:07CR47-003
                                                     §
    SARAH MICHELLE BARTRAM                           §
    a/k/a “ASHLEY”                                   §

                   MEMORANDUM ADOPTING REPORT AND
           RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

           Came on for consideration the above-referenced criminal action, this Court having heretofore

    referred the request for modification of Defendant’s supervised release to the United States

    Magistrate Judge for proper consideration. The Court has received the report of the United States

    Magistrate Judge pursuant to its order. Defendant having waived allocution before this Court as well

    as her right to object to the report of the Magistrate Judge, the Court is of the opinion that the

    findings and conclusions of the Magistrate Judge are correct.

           It is, therefore, ORDERED that the Magistrate Judge’s Report is ADOPTED as the opinion

    of the Court. It is further ORDERED that Defendant’s supervised release is hereby REVOKED.

    It is further ORDERED that Defendant be committed to the custody of the Bureau of Prisons to be

    imprisoned for a term of 15 months, with no supervised release to follow. Defendant shall also pay
.
    a special assessment in the amount of $100. The Court further recommends that Defendant’s term

    of imprisonment be carried out in the Bureau of Prisons facilities in Bryan, Texas, if appropriate

           IT IS SO ORDERED.

          SIGNED this 6th day of January, 2011.




                                                         ____________________________________
                                                         DAVID FOLSOM
                                                         UNITED STATES DISTRICT JUDGE
